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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TESSERA ADVANCED TECHNOLOGIES,                    §
INC.,                                             §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §   CIVIL ACTION NO. 2:17-CV-00671-JRG
                                                  §
SAMSUNG ELECTRONICS CO., LTD.,                    §
SAMSUNG ELECTRONICS AMERICA,                      §
INC.,                                             §
                                                  §
                Defendants.                       §

                                            ORDER

       Before the Court is the Parties’ Joint Motion for Leave for Samsung to File a Sur-Reply

and Tessera to File a Sur-Sur-Reply with Respect to the Claim Construction Briefing (Dkt. No.
    .
113) (“the Motion”), wherein Samsung requests leave to file a four-page sur-reply, filed

concurrently with the Motion, and Tessera requests leave to file a four-page sur-sur-reply in

response. Having considered the Joint Motion and the relief requested therein, the Court finds that

the Joint Motion should be and hereby is GRANTED.

       Accordingly, it is hereby ORDERED that Tessera file its four-page sur-sur-reply no later

than Wednesday, September 5, 2018.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 4th day of September, 2018.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
